Case 4:23-cr-00159-MWB Document 36 Filed 06/27/23 Page 1 of 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) CRIMINAL NO. 4:23-CR-00159-3
)
)  (BRANN, C.J.)
v. ) ,
) (ARBUCKLE, M.J.)
DENISE LODGE, )
Defendant )

 

AND NOW, this 27" day of June 2023, the within named Defendant, hereby
Cop on: OA
enters a plea of /.. vt fot dle to the within Indictment.

—,

VW

 

 

(Defense COuysel)

Page | of I-
